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UNITED STATES DISTRICT COURT " `“` "C'
WESTERN DISTRICT OF TENNESSEE 95 JUN 27 AH mr l 6
Western Division
UNITED s'rATEs oF AMERICA . we lee :»"Nl steinberg
~vs- Case No. 2:05cr20240-1-D
TREMAINE G. WILBOURN

 

ORDER OF DETENT|ON PEND|NG TR|AL
F|ND|NGS
In accordance With the Bail Reform Act, 18 U.S.C. § 3142({], a detention hearing has been
held. The following facts and circumstances require the defendant to be detained pending trial.

No condition or combination of conditions of release will reasonably assure the

appearance of the defendant as required or the safety of any other person and the
community

This conclusion is based on the findings and analysis of the matters enumerated in 18 U.S.C.
§ 3142(g) as stated on the record in open court at the detention hearing

DlRECT|ONS REGARD|NG DETENT|ON

TREMAINE G. WILBOURN is committed to the custody of the Attomey General or his designated
representative for confinement in a corrections facility separate, to the extent practicable, from persons awaiting or
serving sentences or being held in custody pending appeal. TREMAINE G. WILBOURN shall be afforded a
reasonable opportunity for private consultation with defense counsel. On order of a Court of the United States or on
request of an attorney for the government, the person in charge of the corrections facility shall deliver the Defendant

to the United States marshal for the purpose of an appearance in connection with a

   

Date: June 24, 2005

 

1"U M. PHAM
UNITED sTATEs MAGISTRATE rUDGE

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UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 21 in
case 2:05-CR-20240 Was distributed by faX, mail, or direct printing on
June 28, 2005 to the parties listed.

 

 

J Patten Brovvn

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

l\/lemphis7 TN 38103

Tony R. Arvin

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

